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Fll.ED B‘Y __,__
UNITED STATES DISTRICT COURT `

FoR THE WESTERN I)ISTRICT oF TENNESSE§5 .
WESTERN DIVISION AUG 21‘ PH 3` ' 5

  
  

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Plaintiff,

v. Dooket No.: 05-2524
MEMPHIS FINANCIAL SERVICES,
WORLDW[DE MORTGAGE CORPORATION,
NOVASTAR MORTGAGE, EQUITY TITLE
AND ESCROW CO. OF MEMPH]S, LLC,
URSULA JONES, CARY CAL]FF,

ERRIKA GORDON,

\_/\_/\_/\_/\__/\_,/\__/\_/\_/\_/\_/\_/\_/\_./

Defendants.

ORDER GRANTING UNOPPOSED MOTION OF DEFENDANTS
EQUITY TITLE AND ESCROW CO. OF MEMPHIS, LLC, URSULA JONES, AND
CARY CALIFF FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

 

Before the Court is the Unopposed Motion of Defendants, Equity Title and Escrow Co. of
Memphis, LLC, Ursula Jones, and Cary Ca]iff for an Extension of Time to Respond to the
Complaint. The Court hereby finds that the Motion is well taken and Should be granted.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Defendants Equity
Tit]e and Escrow Co. of Memphis, LLC, Ursula Jones, and Cary Califf, shall have through and

including August 25, 2005 in Which to move, plead or otherwise respond to the Complaint.

-H.
IT IS SO ORDERED this §§ 'dday of AWLL|"L , 2005_

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UNITED STATES DISTRICT JUDGE

Thls document entered on the docket hee n c mp!|a
W|th Rule 58 andfor 79(3) FHCP on § "§\ § "

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 11 in
case 2:05-CV-02524 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable .l on l\/lcCalla
US DISTRICT COURT

